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UNITED STATES BANKRUPTCY COURT

DISTRICT OF COLORADO
In re
Case No, 14- 11 360
SEQUOIA VOTING SYSTEMS, INC. Chapter 11
Debtor.

 

CORPORATE OWNERSHIP STATEMENT PURSUANT
FED. R. BANKR. P. 1007(a)(1) AND (a)(3) AND 7007.1

 

Sequoia Voting Systems, Inc. (the “Debtor’’), submits this Corporate Ownership
Statement Pursuant to Fed. R. Bankr. P. 1007(a)(1) and (a)(3) and 7007.1 and states that the
Debtor is a Delaware corporation.

The Chapter 7 Bankruptcy Estate of SVS Holdings, Inc. owns 100% of the voting equity
of the Debtor. The Debtor has no other classes of shares.

SEQUOIA ee S, INC.
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By: 7 A? f - —]

Yom HéContiolly, President

Dated: February 11, 2014.

 

and
FOSTER GRAHAM MILSTEIN &
Dartfel’J,/arfield, #26054
360 S. Garfield St., 6" FI.
Denver, Colorado 80209
Tel: (303) 333-9810

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Proposed attorneys for Debtor Sequoia Voting
Systems, Inc.
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WRITTEN UNANIMOUS CONSENT IN LIEU
OF A MEETING OF THE SHAREHOLDERS
OF

Sequoia Voting Systems, Inc.
A Corporation Formed Under
the Laws of the State of Delaware.

THE UNDERSIGNED, representing the sole Shareholder of Sequoia Voting Systems,
Inc., a Delaware corporation (the “Corporation”), entitled to vote at a meeting of the
Shareholders of the Corporation, hereby unanimously ratify and consent to the following
resolutions and activity of the Corporation in lieu of a formal organizational meeting:

AUTHORIZATION TO FILE BANKRUPTCY PETITION

RESOLVED that the officers of the Corporation are hereby authorized and directed to
file a voluntary petition under Chapter 11 of the United States Bankruptcy Code and take such
actions in connection with the Chapter 11 case as they deem necessary and proper;

BE IT FURTHER RESOLVED that the officers of the Corporation are hereby authorized
and directed to hire and engage the law firm of Foster Graham Milstein & Calisher, LLP as
bankruptcy counsel.

GENERAL

RESOLVED, that to the extent these resolutions conflict with any prior resolutions or
bylaws adopted by the Corporation, these resolutions shall control.

DATED this 10" day of February, 2014.

SHAREHOLDERS:
SVS BOLDINGE, INC.

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Narfe: Tom H. Connolly, Chapter 7 Trustee
